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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


                                                   )
  UNITED STATES OF AMERICA,                        )
                                                   )
                        v.                         )
                                                   ) Criminal No. 1:22-cr-00015-APM
  KENNETH HARRELSON                                )
                                                   )
                   Defendant                       )
                                                   )
                                                   )
                                                   )


DEFENDANT HARRELSON’S OPPOSITION TO MOTION IN LIMINE (ECF 213 AND
           214) REGARDING ANTICIPATED TRIAL EVIDENCE

       Defendant, Kenneth Harrelson, by and through undersigned counsel, and pursuant to this

court’s Pretrial Order, dated May 12, 2022, (ECF 133), hereby file this Opposition Memorandum

to the Government’s two (2) Motions in Limine, ECF 213 and 214.

       ECF 214 seeks to bar the defendants from submitting evidence during trial to include: (1)

the actions or inaction of law enforcement officers at the Capitol on January 6, 2021; (2) the

actions of rioters at other, unrelated events, and the status, disposition, and pendency of cases or

charges involving those other rioters; and (3) purported diminished mental or physical capacity

of any defendants. (ECF 214).

       In ECF 213, the government seeks to prohibit not only the public authority defense, but

also to preclude the defendants from raising an entrapment-by-estoppel defense at trial. (ECF

213). These Defendants submit that these motions are too broad and premature.

       As the government submitted, Seditious Conspiracy under 18 § U.S.C. 2384 is a specific

intent crime, as is obstruction under 18 § U.S.C. 1512(c). United States v. Rahman, 189 F.3d 88,
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130 (2nd Cir. 1999); United States v. North, 910 F.2d 843, 881 (D.C. Cir. 1990),

       At the outset, we should remember that the Honorable Judge Amit Mehta in a motion

hearing on April 8, 2022, repeatedly and strenuously emphasized that everything in this case is

about the Defendant’s intent. Judge Mehta then ruled on that basis upon several motions as to a

continuance and accelerated discovery procedures. That is, the idea that this case is about intent

was not a random or idle thought but a necessary part of important rulings. Judge Mehta sought

to narrow the scope of the trial.

       All of the Government’s Motions in Limine (MIL) share several serious, major, and

insurmountable problems, as well as each having their own individual difficulties.

       The Defendants are charged with conspiracies premised on events from November 4,

2020, and supposedly spread all over the country.

       The Government’s proposed limitations are far too vague and unclear to be granted.

They are unworkable. For example, there is no clear objective standard for identifying what

activities at different locations are “unrelated.” How is the Court to decide – especially in

advance of the evidence – what is related and what is unrelated?

       One can’t establish a category of related or unrelated without knowing the full context in

detail. The Defendants don’t have the facts and the context yet because their pleas for required

discovery have gone ignored for many months. For example, a radio call about shots fired might

seem unrelated until knowing the context making it related to an officer’s decision to shoot Ashli

Babbitt. Is a conversation between George Tenney looking backwards into the center of the

building up to the balcony “related” to him apparently opening the East Rotunda Doors from the

inside a few seconds later?

       The Government’s proposed limitations fail because they do not address tangential
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issues, but they gut the very core of what appears to be the prosecution’s case. The prosecution

cannot present only some of the topic of the charges while arbitrarily excluding other aspects of

the same criminal charge. Again, the Government errs because these are not tangential matters.

       Furthermore, the proposed limitations are simply incompatible with the prosecution case.

       Moreover, the motions are premature because the Government has steadfastly refused to

specify its prosecution theory or its position on multiple points. Until those points emerge in

context on the evidence the Court would be unable to make a reasoned decision and should not

do so in violation of Due Process.

       For example, it appears that whether accurate or inaccurate, the crowd at the Capitol

spread the news that at least one 12 year old girl had been shot inside the Capitol building. In

spite of the difficulty of communicating with the Defendants in detention and comparing various

recollections, one reason that some Oath Keepers apparently went inside the building was to

provide first aid. Thus, it might be lawful for military veterans with first-aid training to enter the

building on that rumor as a necessity.

       The Government also seeks to exclude entrapment-by-estoppel based on inaction. The

Government misunderstands. First, views of the officers caught on video show conduct of

affirmative agreement for the entry of demonstrators into the Capitol, not inaction. The evidence

shows affirmative welcoming of demonstrators. Second, this destroys the prosecution’s

necessary task of showing intent. Even if the officers did display merely inaction which might

not constitute entrapment, it would nevertheless destroy any charge of intent by the Oath

Keepers to knowingly enter a restricted area or to seek to disrupt anything. The question is not

whether the demonstrators were correct or incorrect but whether they reasonably believed they

were allowed to enter based on the officer’s expressions of agreement with them walking in.
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None of the Government’s cited precedents are remotely relevant to this.

       Furthermore, the officers did not mislead as to the state of the law, but allowed

demonstrators to enter. The motion is misplaced because implied or apparent authorization to

enter can and does render entry into the building lawful. The argument cited from United States

v. Gutierrez-Gonzalez is that an officer cannot sanction unlawful conduct. But the conduct is not

unlawful if it is agreed to. Accepting entry into the building makes the conduct (of entering)

lawful. It is not a change of law but of fact.

       Next, the Government seems to overlook how the MILs must go both ways. If the MILs

were granted, the prosecution’s case at trial would be gutted. And that would be fine for the

Defendants, but the prosecution does not seem to understand that. At trial, the Court and the

U.S. Attorney’s Office may be surprised and fight against the consequences of its own MILs.

Counsel can foresee the mistake of limiting one side but not the other on the same points.

       Therefore short of violating Due Process under the Constitution, the Court cannot

exclude only a part of the same topic while allowing the rest of the same topic to be argued as a

crime against the Defendants.

       To the extent that the Defendants can discern with difficulty what exactly the

Government is charging the Defendants with and what its theory of the case might be and what

evidentiary themes the USAO will pursue and present, it seems clear that the USAO would be

completely disabled from presenting any of the case it intends to press against these Defendants

if these MILs were granted and not reversed in the middle of trial. If the MILs were granted, and

strictly observed, applying equally to both sides, the trial could be very short indeed.

       And again that mistake by the prosecution would be good for the Defendants except that

when that comes as a surprise to the prosecution and the Court unexpectedly in the midst of trial,
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the risk is very high that the contradiction will be ignored in the press and rush of trial. It will be

very difficult to bring the momentum to an abrupt stop and confront the contradiction.

       Therefore, the Court must now grant the MILs in both directions or not at all.

       In the same vein, the prosecution has vigorously fought against being specific in what the

Government is alleging against these Defendants and played every card in the deck to try to

prosecute the Defendants by ambush and surprise. Resisting every form of motion, the

prosecution has argued that it does not have to tell the Defendants exactly what its case is against

the Defendants, such as whom they supposedly aided and abetted, what property they allegedly

damaged, maybe they broke windows, how they “breached” (that is, broke into) the 10 ton, 17

feet high Columbus Doors, or else why the doors were left open, how they disrupted an official

proceeding before they arrived, who if any police officers they encountered, how they “led”

anyone or anything especially before they arrived, whom they talked to other than themselves,

etc.

       In other words, having resisted precision all along, the prosecution now wishes to impose

precision like hammering a nail into a wall of jello.

       The Government argues its MIL as if the matters sought to be precluded could be

separated from the larger topic and group of facts and allegations charged against the

Defendants. But in these cases they cannot be separated.

       In the Government’s MIL at Dkt. # 214, the Government wishes to “preclude the

following evidence during trial: (1) the actions or inaction of law enforcement officers at the

Capitol on January 6, 2021;” Yet the Government also seeks to prosecute the Defendants for

their supposed interactions with those same law enforcement officers. The Court cannot hear

only one side of the same story. Furthermore, the prosecution seeks to smear the Defendants in
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guilt by association. The prosecution contends that “a mob needs a leader” which is patently

false, and almost the opposite of the definition of a “mob.” The prosecution essentially argues

that because the Oath Keepers were in Washington, D.C., and some persons brawled, therefore

the Oath Keepers must have caused it. The Congress’ failure to marshal a significant number of

its officers for a very important day may not suggest any fault by officers or excuse for the

brawlers. But the actions or omissions of the officers might very well refute the suggestion that

the Oath Keepers caused any of it merely by responding to assist or standing idly by.

       Furthermore, in the MIL at Dkt. # 214, the Government wishes to “preclude the

following evidence during trial: … (2) the actions of rioters at other, unrelated events,”

However, the prosecution’s entire case is of a vast, though nebulous and vague, conspiracy in

which nearly 500,000 demonstrators all had the same motivations, the same intent, and the same

plan. Thus, the prosecution cannot present its case without the imprecise and unfounded

assumption that all of the demonstrators everywhere in D.C. were all part of one big unity.

       For example, the fact that Ray Epps ran all over the area urging people to go into the

Capitol, but the Oath Keepers did nothing of the kind, proves that the Oath Keepers lacked the

necessary intent or agreement on a common plan to be guilty of the charges against them.

       There are many examples of the actions of others that go to the circumstances of the

entry, as to what did these defendants’ hear or know immediately before going on to the Capitol

grounds, which includes the circumstances around them, and specifically relates to their intent

and knowledge.

        For example, the Defendants will show that barricades were moved before these

Defendants entered the grounds. This evidence relates to both knowledge and intent. The

evidence will show that to have a “Restricted Area” there must be an “area” to which the
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restriction applies. An unidentified, indeterminate area cannot be a restricted area. For a person

to knowingly enter a restricted area without authorization, there must be both an identifiable area

that is restricted and knowledge by the person of a restriction. Defendants intend to show that

the only small, flimsy signs (some seen in photographs torn in two as being merely paper) got

affixed to light-weight, movable bike racks, appearing at a very low height at about waist-high-

level in most places. We anticipate we will have substantial evidence in this regard testified to by

eyewitnesses and experts.

        The Defendants will further show that there was an announcement made by a megaphone

by the lead police officer in the East, whom we are still attempting to identify, who bellowed to

the crowd “we understand this is your house” and “we’ll push it up to our leadership and see

about getting you upstairs.”1 Obtaining information about this event, and the Suspicious Actors

that bullhorned this false information throughout the crowd has proved very difficult

notwithstanding the fact that under ex rel Brady, this should have prompted an immediate letter

to all counsel of record. Undersigned counsels have been trying in vain to get the necessary

Brady information around this event since On April 7, 2022 when, in a status conference hearing,

undersigned counsel explained with as much detail as possible at the time—based only on public

information--(Page 31, Line 24 to Page 34, Line 19) this event.2 Subsequent to that April

hearing, the Government also promised investigative files on 600 individuals’ for which the

defense still seems to still be waiting. ECF 225-2 was originally filed in July in a vain attempt to

scope the government around core Brady disclosures that the Siege Unit was obligated to make

to all assigned government prosecutors precisely so that disclosures could be made to all defense
1 https://www.dropbox.com/s/un9rpzuspmxfp9u/Public%20Authority.mp4?dl=0 We have been repeatedly asking

for any and all information about the many people surrounding this exchange and we laid it out in 225-2 and 225-3
but we still have very little that anyone can locate.

2 https://www.dropbox.com/s/k9ymne8tpop5n3f/20220407%2022cr15%20Document%2076%20transcript.pdf?dl=0
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counsels. To date, although these comments could have been interpreted by the crowd as having

given official permission and that could have been distorted by Suspicious Actors that we can

see on video bullhorning this throughout the crowd, there is substantial evidence submitted in

225-2 and 225-3 of a coordinated and planned attempt to warp attendees view of the events as

they transpired, and this provides an the most reasonable explanation not only for why over

1,000 people would walk to the East steps after a coordinated breach by Suspicious Actors that

had a plan, but also why the Oath Keepers might respond to protectees being drawn in by this

nefarious effort. Again this goes to both what these Defendant knew, what they believed, why

they acted the way they did and for what purpose they acted the way they did and all this speaks

to intent.

        The evidence will further show, through video produced by the government, that the

Columbus doors were opened from the inside, (for the second time) at 2:38 PM, after which an

unidentified man, referenced in 225-2 as #JamesDeanWannabe who helped attack James Dolan

on the stairs and who was the only man to hold a Confederate Flag for cameras, and that led the

attack on police with chemicals while the Oath Keepers were standing on the steps singing the

National Anthem and who, to the inside of the door, begins to (frantically) physically pull people

inside at a rapid pace, until these Defendants enter nearly four minutes later, almost stumbling as

they enter following a line of entry. One person takes a header and is injured. The evidence will

show what that looked like from their vantage point, which again goes to knowledge and intent.

The actions of others relate to both what notice they had and their intent.

        Both ECF 213 and 214 seek to bar the introduction large categories of evidence, that the

government has produced regarding officers who were investigated, by way of an example,

             ‘That on Wednesday, January 6, 2021, an Unknown Officer• violated
        USCP Directive 2053.013, Rules of Conduct, when they allegedly waived
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       unauthorized persons2, into a restricted area secured by bike racks3, toward the
       US Capitol during an insurrection’ or
                “While working with MPD at the lower west terrace door, to hold back the
       mob of rioters, I looked to my right and saw Lt. --- leaning against the wall taking
       no action… In this video,---you can see Lt. --- in the background doing nothing to
       address the rioters in the building or stop the officer taking what appears to be a
       selfie; or
                “According to the officers, a few officers were told to go home early on
       the date of the incident at the U.S. Capitol. The officers did not say, however, who
       instructed the officers to go home. Officers were also told to open the U.S.
       Capitol doors as well…”

(These reports are not cited, nor are any names produced, to maintain the government’s
protective order, but the examples cited are copied from productions made by the government).3

       For example, a motion in limine was denied in a court where,

               “[t]he defendants' willingness to discuss their activities with a DEA agent
       may suggest a lack of knowledge because they did not flee or hide their activities
       from law enforcement. See Id. at 2304 n.1 (stating knowledge can be shown
       through direct and circumstantial evidence, including evidence of "a defendant's
       concealment of his activities" and "evasive behavior with respect to law
       enforcement"); United States v. Makkar, 810 F.3d 1139, 1147-48 (10th Cir. 2015)
       (stating the court had a "hard time imagining more powerful proof" of lack of
       knowledge than that the defendant "turned to law enforcement for information
       about the drug's composition and offered to suspend sales until tests could be
       performed")

United States v. Ritchie, 2018 U.S. Dist. LEXIS 210267, *11-12, 2018 WL 6580570.

       This is relevant by way of analogy, because there is video and evidence of these

Defendants inside the Capitol coming to the rescue of Officer Dunn, Meggs assisting police and

exchanging pleasantries while he directs foot traffic upon his exit, and, after Meggs and

Harrelson exited, why they would stand by police in a comfortable and easy communion where it

was even requested of them that they guard a broken window that Hunter Ehmke had broken.

They can be seen chatting amicably with police officers, and they “did not flee or hide from law

enforcement.” This similarly relates to intent.

       Additionally, based on additional evidence that is still under investigation because of

3 See CAPD reports
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discovery that is outstanding (see Defendant Harrelson’s Motion for Discovery filed

contemporaneously today), the evidence already available is anticipated to be genuinely

probative because it will also go to Defendants’ intent and their knowledge before entering the

space alleged to be restricted, and at the Capitol.

       Additionally, it may show entrapment-by-estoppel defense, a separate defense from the

public authority defense, which would be on the defendants’ show that,

               ‘Entrapment by estoppel is the unintentional entrapment by an official
       who mistakenly misleads a person into a violation of the law." Ramirez-Valencia,
       202 F.3d at 1109. It derives from the Due Process Clause of the Constitution,
       which prohibits convictions based on misleading actions by government officials.
       Tallmadge, 829 F.2d at 773 (citing and discussing Cox v. Louisiana, 379 U.S.
       559, 13 L. Ed. 2d 487, 85 S. Ct. 476 (1965), and Raley v. Ohio, 360 U.S. 423, 3 L.
       Ed. 2d 1344, 79 S. Ct. 1257 (1959)).

                In order to establish entrapment by estoppel, a defendant must show that
       (1) "an authorized government official," "empowered to render the claimed
       erroneous advice," Brebner, 951 F.2d at 1024, 1027, (2) "who has been made
       aware of all the relevant historical facts," Tallmadge, 829 F.2d at 774, (3)
       "affirmatively told him the proscribed conduct was permissible," Ramirez-
       Valencia, 202 F.3d at 1109, (4) that "he relied on the false information,"
       Tallmadge, 829 F.2d at 774, and (5) "that his reliance was reasonable." Id. As to
       this last element, we have stated that "[a] defendant's reliance is reasonable if 'a
       person sincerely desirous of obeying the law would have accepted the information
       as true, and would not have been put on notice to make further inquiries.'"
       Ramirez-Valencia, 202 F.3d at 1109 (quoting United States v. Lansing, 424 F.2d
       225, 227 (9th Cir. 1970)).

United States v. Batterjee, 361 F.3d 1210, 1216-1217, (9th Cir. 2004).

       Moreover, the government has admitted to continuing to supplement discovery at the last

conference, and these Defendants are still working to analyze discovery, therefore, these 2

motions that are overly broad and seek to bar significant evidence are prejudicial to Defendants

being able to rebut specific intent charges.

       Defendant Harrelson, however, has no intention of raising a defense of “diminished

physical capacity.”
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       WHEREFORE, Defendant Kenneth Harrelson respectfully requests that the Court deny

these two Motions in Limine to bar this evidence at trial where it is highly prejudicial because

the evidence relates to Defendant’s specific intent under Federal Rules of Civil Procedure 403

and Rule 404(b), other than allowing Defendant to stipulate with the government that they are

not seeking to show “diminished physical capacity.”




Dated: August 13, 2022                       RESPECTFULLY SUBMITTED


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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 13, 2022, a true and accurate copy of the forgoing was
electronically filed and served through the ECF system of the U.S. District Court for the District
of Columbia.



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